       Case 2:16-cr-00067-JAM Document 236 Filed 09/11/20 Page 1 of 2


 1   Timothy E. Warriner (SB #166128)
     Law Office of Timothy E. Warriner
 2   455 Capitol Mall, Suite 802
 3   tew@warrinerlaw.com
     T: (916) 443-7141
 4
     J. Talitha Hazelton (WSBA #54260)*
 5   Smith Law, LLC
     4301 NE 4th St.
 6   PO Box 2767
 7   Renton, WA 98058
     T: 206-715-4248
 8   F: 206-900-2664
     talitha@thesmithlaw.com
 9

10
                                 UNITED STATES DISTRICT COURT
11
                                EASTERN DISTRICT OF CALIFORNIA
12

13    UNITED STATES OF AMERICA,                        No. 2:16CR00067-05
14                      Plaintiff,                     ORDER GRANTING MOTION FOR COURT-
                                                       ORDERED ACCESS TO COUNSEL
15           v.
16    VIDAL GONZALEZ,
17                      Defendant.
18
                                                 ORDER
19
            The Court considers and GRANTS the Defendant’s Motion for Court Order Requiring
20
     FDC SeaTac to Facilitate Legal Call with Counsel.
21
            The Court orders FDC SeaTac to facilitate by 9:00PM on Friday, September 11, 2020: a
22
     one hour Zoom conference with Gonzalez’s attorney J. Talitha Hazelton (206-226-7447) and a
23
     family Zoom call scheduled with Gonzalez’s daughter Janett Thompson (916-475-8615).
24

25
     If FDC Sea Tac is unable to facilitate said Zoom calls on September 11 it shall continue to
26
     attempt to facilitate said calls on September 12 and/or September 13. If these Zoom calls are not
27
     facilitated by September 13 then the Warden or counsel for the Warden shall file a declaration
28
                                                      1
       Case 2:16-cr-00067-JAM Document 236 Filed 09/11/20 Page 2 of 2


 1   with this Court no later than noon on Monday September 14, 2020 explaining why the prison was
 2   unable to comply with this Court’s Order.
 3          Dated this 11th day of September, 2020.

 4

 5                                               /s/ John A. Mendez
                                                  The Honorable John A. Mendez
 6                                                United States District Court Judge
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                      2
